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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   PECOS DIVISION


ADAM PARDUE, individually and on                   §
behalf of others similarly situated,               §
                   Plaintiff,                      §
                                                   §
v.                                                 §                   P:21-CV-00020-DC
                                                   §
3B INSPECTION, LLC,                                §
             Defendant.                            §

                             ORDER APPROVING SETTLEMENT

       BEFORE THE COURT is Plaintiff Adam Pardue’s (Plaintiff) Unopposed Motion for

Approval of Settlement Agreement and Release. (Doc. 25). Plaintiff—proceeding individually

and on behalf of all persons similarly situated––and Defendant 3B Inspection, LLC (Defendant)

have arrived at a settlement and request that the Court approves their Settlement Agreement and

dismiss the case with prejudice, subject to the terms of the Settlement Agreement.

       The Court has reviewed the proposed Settlement Agreement (Doc. 24-1) and finds that

the settlement of this action is fair to all parties, reasonably resolves a bona fide disagreement

between the parties concerning the merits of the claims asserted in this action, and demonstrates

a good faith intention by the parties to fully and finally resolve all claims asserted.

       It is therefore ORDERED that Plaintiff’s Unopposed Motion for Approval of Settlement

Agreement and Release is GRANTED (Doc. 25), and the Settlement Agreement is

APPROVED. (Doc. 24-1).

       It is further ORDERED that the parties implement and complete the notice process

described in the Settlement Agreement.

       It is finally ORDERED that the parties implement the Settlement Agreement terms, and

no later than 15 days after Settlement Payments have been mailed, in accordance with the
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Agreement, submit a joint motion for dismissal of this action with prejudice. No extensions will

be granted.

       It is so ORDERED.

       SIGNED this 10th day of January, 2022.




                                    DAVID COUNTS
                                    UNITED STATES DISTRICT JUDGE




                                               2
